      Case: 23-10362     Document: 222    Page: 1   Date Filed: 04/26/2023



                                No. 23-10362

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
 PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN
    JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.;
                       GEORGE DELGADO, M.D.,
                                       Plaintiffs-Appellees,
                                 v.
U.S. FOOD & DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner of
 Food and Drugs; JANET WOODCOCK, M.D., in her official capacity as Principal
      Deputy Commissioner, U.S. Food and Drug Administration; PATRIZIA
CAVAZZONI, M.D., in her official capacity as Director, Center for Drug Evaluation
      and Research, U.S. Food and Drug Administration; UNITED STATES
  DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER BECERRA,
          Secretary, U.S. Department of Health and Human Services,
                                               Defendants-Appellants,
                                       v.
                       DANCO LABORATORIES, L.L.C.,
                                       Intervenor-Appellant.

                On Appeal from the United States District Court
                      for the Northern District of Texas

                   BRIEF FOR FEDERAL APPELLANTS

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      Case: 23-10362     Document: 222   Page: 2   Date Filed: 04/26/2023




           CERTIFICATE OF INTERESTED PERSONS

     Alliance for Hippocratic Medicine, et al. v. U.S. Food & Drug

Administration, et al.

     The undersigned counsel of record certifies that the following

listed persons and entities as described in the fourth sentence of Rule

28.2.1 have an interest in the outcome of this case. These

representations are made in order that the judges of this court may

evaluate possible disqualification or recusal.

Plaintiffs-Appellees:

     Alliance for Hippocratic Medicine

     American Association of Pro-Life Obstetricians & Gynecologists

     American College of Pediatricians

     Christian Medical & Dental Associations

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      Case: 23-10362    Document: 222   Page: 3   Date Filed: 04/26/2023




Defendants-Appellants:

     U.S. Food and Drug Administration

     U.S. Department of Health and Human Services

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     Administration

     Janet Woodcock, M.D., in her official capacity as
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      Case: 23-10362   Document: 222   Page: 4   Date Filed: 04/26/2023




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      Case: 23-10362   Document: 222   Page: 5   Date Filed: 04/26/2023




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                                        Counsel for Appellants
      Case: 23-10362   Document: 222   Page: 6   Date Filed: 04/26/2023




          STATEMENT REGARDING ORAL ARGUMENT

     Oral argument has been scheduled for May 17, 2023. This case

presents substantial legal questions that profoundly affect the Food and

Drug Administration’s authority to regulate drugs, the lives of millions

of women who depend on access to mifepristone, and many others. Oral

argument is necessary for full consideration of these issues.
         Case: 23-10362          Document: 222         Page: 7      Date Filed: 04/26/2023




                                  TABLE OF CONTENTS

                                                                                                Page

INTRODUCTION ...................................................................................... 1

STATEMENT OF JURISDICTION .......................................................... 3

STATEMENT OF THE ISSUES ............................................................... 4

STATEMENT OF THE CASE .................................................................. 4

       A.        Statutory And Regulatory Background .................................. 4

       B.        FDA’s Actions Addressing Mifepristone ................................. 6

       C.        Plaintiffs’ Citizen Petitions ..................................................... 9

       D.        Prior Proceedings .................................................................. 11

SUMMARY OF ARGUMENT ................................................................. 14

STANDARD OF REVIEW....................................................................... 18

ARGUMENT ........................................................................................... 19

I.     Plaintiffs’ Claims Are Not Judicially Reviewable ......................... 19

            A.        Plaintiffs Lack Article III Standing ................................. 19

                 1.      Plaintiffs Lack Associational Standing ....................... 19

                 2.      Plaintiffs Lack Organizational Standing .................... 30

                 3.      Plaintiffs Lack Third-Party Standing ......................... 32

            B.        Plaintiffs’ Central Claims Are Time-Barred .................... 35
         Case: 23-10362          Document: 222           Page: 8      Date Filed: 04/26/2023




II.    FDA’s Challenged Actions With Respect To Mifepristone
       Were Lawful ................................................................................... 38

       A.      FDA Lawfully Approved Mifepristone In 2000 .................... 40

               1.      FDA Reasonably Approved Mifepristone As Safe
                       And Effective Under The FDCA ................................... 40

               2.      FDA Properly Approved Mifepristone Under
                       Subpart H ..................................................................... 45

       B.      FDA Lawfully Changed The Conditions Of
               Approval In 2016 ................................................................... 46

       C.      FDA Lawfully Changed The Adverse Event
               Reporting Requirements In 2016.......................................... 52

       D.      FDA Lawfully Approved Generic Mifepristone
               In 2019 ................................................................................... 53

       E.      FDA Lawfully Determined That The In-Person
               Dispensing Requirement Should Be Removed ..................... 54

III.   The District Court Abused Its Discretion In Awarding
       Preliminary Relief .......................................................................... 62

CONCLUSION ........................................................................................ 69

CERTIFICATE OF SERVICE

CERTIFICATE OF COMPLIANCE




                                                    ii
         Case: 23-10362        Document: 222           Page: 9   Date Filed: 04/26/2023




                             TABLE OF AUTHORITIES

Cases:                                                                                   Page(s)

Benisek v. Lamone,
  138 S. Ct. 1942 (2018) ........................................................................ 68
Canfield Aviation, Inc. v. NTSB,
 854 F.2d 745 (5th Cir. 1988) .............................................................. 33
City of Dallas v. Delta Air Lines, Inc.,
  847 F.3d 279 (5th Cir. 2017) .............................................................. 63
Clapper v. Amnesty Int’l USA,
  568 U.S. 398 (2013) .......................................................... 19, 20, 21, 31
Coalition for Mercury-Free Drugs v. Sebelius,
 671 F.3d 1275 (D.C. Cir. 2012) .......................................................... 20
Cronin v. USDA,
  919 F.2d 439 (7th Cir. 1990) .............................................................. 18
DeOtte v. State,
 20 F.4th 1055 (5th Cir. 2021) ............................................................ 62
Dobbs v. Jackson Women’s Health Org.,
 142 S. Ct. 2228 (2022) ................................................................... 59-60
Dorsey v. United States,
 567 U.S. 260 (2012) ............................................................................ 61
E.T. v. Paxton,
  41 F.4th 709 (5th Cir. 2022) .............................................................. 21
FCC v. Prometheus Radio Project,
 141 S. Ct. 1150 (2021) ............................................................ 40, 43, 50
FDA v. American Coll. of Obstetricians & Gynecologists,
 141 S. Ct. 578 (2021) ..................................................................... 38-39
FDA v. Brown & Williamson Tobacco Corp.,
 529 U.S. 120 (2000) ............................................................................ 59


                                                 iii
        Case: 23-10362         Document: 222          Page: 10    Date Filed: 04/26/2023




Friends of the Earth Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,
  528 U.S. 167 (2000) ............................................................................ 27
Havens Realty Corp. v. Coleman,
 455 U.S. 363 (1982) ............................................................................ 31
Jones v. Texas Dep’t of Criminal Justice,
  880 F.3d 756 (5th Cir. 2018) .............................................................. 64
June Med. Servs. L.L.C. v. Russo,
  140 S. Ct. 2103 (2020), overruled on other grounds,
  Dobbs v. Jackson Women’s Health Org.,
  142 S. Ct. 2228 (2022) .................................................................. 32, 33
Kowalski v. Tesmer,
 543 U.S. 125 (2004) ...................................................................... 32, 33
Lujan v. Defenders of Wildlife,
 504 U.S. 555 (1992) ................................................................ 21, 32, 33
Maryland v. King,
 567 U.S. 1301 (2012) .......................................................................... 66
Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak,
 567 U.S. 209 (2012) ............................................................................ 35
Menominee Indian Tribe of Wisconsin v. United States
 577 U.S. 250 (2016) ............................................................................. 38
National Biodiesel Bd. v. EPA,
 843 F.3d 1010 (D.C. Cir. 2016) ........................................................... 38
National Mining Ass’n v. U.S. Dep’t of Interior,
 70 F.3d 1345 (D.C. Cir. 1995) ............................................................ 37
Nken v. Holder,
 556 U.S. 418 (2009) ............................................................................ 66
NLRB Union v. FLRA,
 834 F.2d 191 (D.C. Cir. 1987) ............................................................ 37




                                                 iv
        Case: 23-10362         Document: 222          Page: 11     Date Filed: 04/26/2023




Planned Parenthood of Greater Tex. Family Planning &
  Preventative Health Servs., Inc. v. Kauffman,
  981 F.3d 347 (5th Cir. 2020) .............................................................. 18
Sierra Club v. EPA,
  551 F.3d 1019 (D.C. Cir. 2008) .......................................................... 37
Sierra Club v. EPA,
  939 F.3d 649 (5th Cir. 2019) .............................................................. 39
Spokeo, Inc. v. Robins,
  578 U.S 330 (2016) ............................................................................. 19
Summers v. Earth Island Inst.,
 555 U.S. 488 (2009) ................................................................ 14, 22, 23
Texas v. Biden,
  20 F.4th 928 (5th Cir. 2021), rev’d on other grounds,
  142 S. Ct. 2528 (2022) ........................................................................ 35
TransUnion LLC v. Ramirez,
  141 S. Ct. 2190 (2021) ............................................................. 19, 27, 28
United States v. Bass,
 404 U.S. 336 (1971) ............................................................................ 59
United States v. Munsingwear, Inc.,
 340 U.S. 36 (1950) ................................................................................ 62
United States v. One Package,
 86 F.2d 737 (2d Cir. 1936) ................................................................. 58
United States v. Rutherford,
 442 U.S. 544 (1979) ...................................................................... 39, 42
Weinberger v. Hynson, Westcott & Dunning, Inc.,
 412 U.S. 609 (1973) ............................................................................. 43

Youngs Rubber Corp. v. C.I. Lee & Co.,
  45 F.2d 103 (2d Cir. 1930) .................................................................. 60




                                                  v
        Case: 23-10362          Document: 222           Page: 12     Date Filed: 04/26/2023




Statutes:

Act of Mar. 3, 1873, ch. 258, 17 Stat. 598:
  § 1, 17 Stat. at 598-99 .......................................................................... 57
  § 2, 17 Stat. at 599 ............................................................................... 57
  § 3, 17 Stat. at 599 ............................................................................... 57

Consolidated Appropriations Act, 2022,
 Pub. L. No. 117-103, div. H., tit. V, §§ 506-507, 136 Stat. 49, 496 ..... 26

Drug Amendments of 1962,
 Pub. L. No. 87-781, 76 Stat. 780 .......................................................... 58

Food and Drug Administration Amendments Act of 2007,
  Pub. L. No. 110-85, tit. IX, 121 Stat. 823 ............................................ 45
     § 901, 121 Stat. at 922-43................................................................. 5
     § 909(b), 121 Stat. at 950-51 (21 U.S.C. § 331 note) .................. 7, 60

Rev. Stat. § 2491 (1st ed. 1875), 18 Stat. pt. 1........................................ 57

5 U.S.C. § 705 .......................................................... 1, 2, 4, 13, 17, 18, 62

18 U.S.C. § 1461 ........................................................................ 12, 56, 59

18 U.S.C. § 1461 note ...................................................................... 58, 60

18 U.S.C. § 1462 ........................................................................ 12, 56, 59

19 U.S.C. § 1305 (a) ................................................................................ 59

21 U.S.C. § 321(p) .................................................................................... 4

21 U.S.C. § 355 .................................................................................. 4, 45

21 U.S.C. § 355(d) ....................................................... 4, 39, 42, 43, 56-57

21 U.S.C. § 355(j) ..................................................................................... 9

21 U.S.C. § 355(j)(2) .............................................................................. 53

21 U.S.C. § 355-1 .......................................................................... 5, 56-57


                                                   vi
        Case: 23-10362          Document: 222           Page: 13     Date Filed: 04/26/2023




21 U.S.C. § 355-1(a)(1) .......................................................................... 46

21 U.S.C. § 355-1(f)(3) ............................................................................. 5

21 U.S.C. § 355-1(g) ................................................................................. 6

21 U.S.C. § 355-1(g)(4)(B) ...................................................................... 11

21 U.S.C. § 355-1(h) ................................................................................. 6

21 U.S.C. § 393(b)(2)(B) ........................................................................... 4

21 U.S.C. §§ 841-843 ............................................................................. 57

28 U.S.C. § 1292(a)(1) .............................................................................. 4

28 U.S.C. § 1331 ...................................................................................... 3

28 U.S.C. § 2401(a) ................................................................................ 35

42 U.S.C. § 238n .................................................................................... 26

42 U.S.C. § 300a-7(c) ............................................................................. 26

42 U.S.C. § 300a-7(d) ............................................................................. 26

Miss. Code Ann. § 41-41-34.1 ................................................................ 64

Miss. Code Ann. § 41-41-45(2) ............................................................... 64

Tex. Health & Safety Code Ann. § 170A.002(b) ................................... 64


Regulations:

21 C.F.R. § 10.45(b) ................................................................................. 9

21 C.F.R. § 10.45(c) ................................................................................ 62

21 C.F.R. § 314.50 .................................................................................... 4

21 C.F.R. § 314.80 .................................................................................. 53

21 C.F.R. § 314.80(b) ............................................................................. 53
                                                  vii
        Case: 23-10362         Document: 222         Page: 14      Date Filed: 04/26/2023




21 C.F.R. § 314.98 ................................................................................. 53

21 C.F.R. § 314.105(c) .............................................................................. 4

21 C.F.R. § 314.500 ............................................................................ 5, 45

21 C.F.R. § 314.520 ............................................................................ 5, 45


Legislative Materials:

153 Cong. Rec. S5469 (daily ed. May 2, 2007) ........................................ 60

153 Cong. Rec. S5765 (daily ed. May 9, 2007) ........................................ 60

H.R. Rep. No. 1950, 79th Cong., 2d Sess. (1946) .................................... 63

S. 1082, 110th Cong. § 214(b)(3)(B) (2007) ............................................. 60

SF0109, § 1(b)(ii), 67th Leg., 2023 Gen. Sess. (Wyo. 2023) .................... 65


Other Authorities:

Application of the Comstock Act to the Mailing of Prescription
 Drugs That Can Be Used for Abortions,
 46 Op. O.L.C. __ (Dec. 23, 2022) ................................................... 58, 64

FDA:
 Mifepristone U.S. Post-Marketing Adverse Events
   Summary through 06/30/2022,
   https://perma.cc/LAM4-KVDZ ............................................. 28, 40, 42
  REMS Modification Rationale Review (2021),
   https://perma.cc/W4U3-L38P ..................................................... 55-56
  REMS Single Shared System for Mifepristone 200 mg
   (Jan. 2023), https://perma.cc/MJT5-35LF ....................................... 11

57 Fed. Reg. 58,942 (Dec. 11, 1992) .................................................. 5, 46



                                                 viii
        Case: 23-10362        Document: 222          Page: 15    Date Filed: 04/26/2023




Gynuity Health Projects, Mifepristone Approved List
 (Mar. 2023), https://perma.cc/MHY4-KQNW ................................ 40-41

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  Scope of FDA Reform Bill During Senate Mark-Up,
  vol. 13, no. 16 (Apr. 20, 2007) ......................................................... 60-61

In Support of FDA’s Authority to Regulate Medicines,
  https://perma.cc/FML8-V2QM ...................................................... 65, 66

Lara Marks, Sexual Chemistry: A History of the
  Contraceptive Pill (2001) ..................................................................... 58

Mifepristone Labeling,
 https://perma.cc/PU3Y-7TSK............................................................... 24

Mifepristone Patient Agreement Form,
 https://perma.cc/FYA4-BQNN ............................................................ 29

Mifepristone Prescriber Agreement Form,
 https://perma.cc/MJT5-35LF ............................................................... 26

Order, Washington v. FDA, No. 23-3026
 (E.D. Wash. Apr. 7, 2023), ECF No. 80 ............................................... 13

Transmucosal Immediate Release Fentanyl Shared System
  REMS Program (Dec. 2022), https://perma.cc/JK6T-S99C ............... 57

U.S. Gov’t Accountability Office:
  GAO-08-751, FDA: Approval and Oversight of the Drug
    Mifeprex (2008), https://perma.cc/JZW3-3J8N........................... 30, 39

  GAO-18-292, FDA: Information on Mifeprex Labeling
   Changes and Ongoing Monitoring Efforts (2018),
   https://perma.cc/Y4WM-8HFZ.......................................................... 39




                                                ix
      Case: 23-10362   Document: 222   Page: 16   Date Filed: 04/26/2023




                           INTRODUCTION

     This is an appeal from an unprecedented order countermanding

the scientific judgment of the Food and Drug Administration (FDA) by

suspending the agency’s approval of mifepristone. In 2000, FDA

approved mifepristone as safe and effective for termination of early

pregnancy. FDA has maintained that scientific judgment across five

presidential administrations. Public health authorities around the

world likewise have approved mifepristone, and the World Health

Organization has declared it to be an “Essential Medicine.” ROA.2154.

More than five million Americans have ended their pregnancies using

the drug. Today, more than half of women in this country who choose to

terminate their pregnancies rely on mifepristone to do so. And study

after study has shown that when mifepristone is taken consistent with

its approved conditions of use, serious adverse events are “exceedingly

rare.” ROA.2189.

     In a sweeping order, the district court invoked 5 U.S.C. § 705 to

suspend FDA’s 2000 approval of mifepristone and a series of

subsequent FDA actions modifying the drug’s approved conditions of

use. Like all preliminary relief, a § 705 order is supposed to “preserve
      Case: 23-10362   Document: 222       Page: 17   Date Filed: 04/26/2023




status or rights” pending review. 5 U.S.C. § 705. But the district

court’s order would do exactly the opposite: By nullifying FDA’s

approval, the order would upend the status quo based on the court’s

deeply misguided assessment of mifepristone’s safety. And the court

took that extraordinary step even though plaintiffs’ own conduct belies

any need for extraordinary relief: They did not sue until more than two

decades after mifepristone’s approval, delayed three years before

petitioning FDA to reconsider its 2016 action, waited nearly a year to

sue after FDA denied that petition, and then unsuccessfully urged the

district court to defer consideration of preliminary relief until after a

trial on the merits.

     To the government’s knowledge, this is the first time any court

has abrogated FDA’s approval of a drug based on disagreement with the

agency’s judgment about safety—much less done so after that approval

has been in effect for decades. The district court reached that

unprecedented result only through a series of fundamental errors that

violate bedrock Article III and administrative law principles. Plaintiffs

lack standing under controlling Supreme Court precedent; their central




                                       2
      Case: 23-10362   Document: 222       Page: 18   Date Filed: 04/26/2023




challenge is untimely; and none of their claims has any basis in the

Federal Food, Drug, and Cosmetic Act (FDCA).

     Finally, the overwhelmingly one-sided balance of the equities by

itself should have precluded the abrupt and profoundly disruptive

nationwide relief granted below. The district court’s order would

thwart FDA’s scientific judgment and profoundly harm women who rely

on mifepristone as an alternative to more burdensome and invasive

surgical abortions. Those harms would be felt throughout the Nation

because mifepristone has lawful uses in every State—even those with

restrictive abortion laws. And the district court’s order is damaging to

healthcare providers and drug sponsors, who also rely on FDA’s

scientific judgment and orderly administration of the Nation’s complex

system of drug regulation. In contrast, plaintiffs have not shown that

they will be injured at all, much less irreparably, by maintaining the

status quo that they left unchallenged for years and that the Supreme

Court has now preserved during these proceedings.

                  STATEMENT OF JURISDICTION

     Plaintiffs invoked the district court’s jurisdiction under 28 U.S.C.

§ 1331 and moved for a preliminary injunction. On April 7, 2023, the


                                       3
      Case: 23-10362    Document: 222       Page: 19   Date Filed: 04/26/2023




court granted that motion in part and, invoking 5 U.S.C. § 705, stayed

the effective date of several agency actions. The government filed a

notice of appeal the same day. This Court stayed the district court’s

order in part on April 12, 2023, and the Supreme Court stayed the

district court’s order in full on April 21, 2023. This Court has

jurisdiction under 28 U.S.C. § 1292(a)(1). ROA.4385 n.3.

                    STATEMENT OF THE ISSUES

     1. Whether plaintiffs’ claims are judicially reviewable.

     2. Whether FDA’s challenged actions were lawful.

     3. Whether the equities further demonstrate that the district

court abused its discretion.

                       STATEMENT OF THE CASE

     A.    Statutory And Regulatory Background

     Congress has entrusted FDA with the authority and responsibility

to ensure that “new drug[s]” are safe and effective. 21 U.S.C. §§ 321(p),

355, 393(b)(2)(B). The FDCA directs the agency to approve a new drug

application if, among other things, it contains evidence demonstrating

that the drug is safe and effective for its intended use. Id. § 355(d); 21

C.F.R. §§ 314.50, 314.105(c).


                                        4
      Case: 23-10362   Document: 222       Page: 20   Date Filed: 04/26/2023




     In 1992, FDA issued regulations providing for the imposition of

conditions “needed to assure safe use” of certain new drugs that satisfy

the other requirements for approval under the FDCA. 57 Fed. Reg.

58,942, 58,948 (Dec. 11, 1992) (21 C.F.R. § 314.520). Those “Subpart H”

regulations apply to certain new drugs that are used to treat “serious or

life-threatening illnesses” and that provide “meaningful therapeutic

benefit to patients over existing treatments.” 21 C.F.R. § 314.500.

     In 2007, Congress codified and expanded on the authority

exercised by FDA through Subpart H by authorizing the agency to

require a “risk evaluation and mitigation strategy” (REMS) when it

determines that such a strategy is necessary to ensure that the benefits

of a drug outweigh the risks. 21 U.S.C. § 355-1; Food and Drug

Administration Amendments Act of 2007 (FDAAA), Pub. L. No. 110-85,

tit. IX, § 901, 121 Stat. 823, 922-43. Under the REMS framework, a

drug approval may include “elements to assure safe use,” such as a

requirement that a drug’s prescribers have particular training or that a

drug be dispensed only in certain settings. 21 U.S.C. § 355-1(f)(3). FDA

may modify an approved REMS if it determines that new requirements




                                       5
      Case: 23-10362   Document: 222       Page: 21   Date Filed: 04/26/2023




are needed to assure safe use or that existing requirements are no

longer necessary. Id. § 355-1(g), (h).

     B.    FDA’s Actions Addressing Mifepristone

     1. In 2000, after a four-year review of the original sponsor’s

application, FDA approved mifepristone under the brand name

Mifeprex. ROA.591-98. Mifepristone is approved for use with another

drug, misoprostol, to end an early pregnancy. A patient who follows the

two-drug regimen experiences cramping and bleeding similar to a

miscarriage. ROA.2209-11. In approving mifepristone, FDA invoked

its Subpart H regulations to impose requirements to assure the drug’s

safe use, including a requirement that mifepristone be dispensed in

person by or under the supervision of a doctor with specified

qualifications. ROA.596. FDA concluded based on a review of clinical

trials and other scientific evidence that, under those conditions,

mifepristone was safe and effective to terminate pregnancy through

seven weeks of gestation. ROA.591-98.

     When Congress adopted the REMS framework in 2007, it deemed

drugs with existing Subpart H restrictions—which included

mifepristone—to have an approved REMS imposing the same


                                       6
      Case: 23-10362   Document: 222       Page: 22   Date Filed: 04/26/2023




restrictions. FDAAA § 909(b), 121 Stat. at 950-51 (21 U.S.C. § 331

note). Since then, the REMS framework has governed mifepristone’s

distribution restrictions. FDA first approved the REMS for

mifepristone in 2011, including similar restrictions as in 2000.

ROA.672; ROA.677-81; ROA.804.

     2. In 2016, FDA approved an application from mifepristone’s

sponsor, intervenor-appellant Danco Laboratories, LLC, that sought to

alter the drug’s conditions of use (including the REMS). ROA.689-94.

FDA’s approval followed a comprehensive review of the proposed

modifications that considered “20 years of experience with

[mifepristone], guidelines from professional organizations here and

abroad, and clinical trials that have been published in the peer-

reviewed medical literature.” ROA.2159; see ROA.2143-2242. Three

aspects of FDA’s 2016 action are relevant here.

     First, FDA changed mifepristone’s conditions of use. Relying on

safety and efficacy data from nearly two dozen studies, FDA increased

the gestational age limit from seven to 10 weeks. ROA.2171-80;

ROA.712-13. Relying on additional studies, FDA also reduced the

number of required in-person clinical visits from three to one.


                                       7
      Case: 23-10362   Document: 222       Page: 23   Date Filed: 04/26/2023




ROA.2180-83; ROA.2206-09; ROA.713-14. And FDA allowed certified

healthcare providers licensed to prescribe drugs under state law (rather

than only physicians) to prescribe and dispense mifepristone.

ROA.2185-86; ROA.713-15. The agency concluded that the revised

conditions of use would ensure mifepristone’s safety, emphasizing that

major adverse events “are exceedingly rare.” ROA.2189.

     Second, FDA changed the approved dosing regimen. ROA.2148.

For example, FDA reduced the amount of mifepristone from 600 mg to

200 mg, increased the amount of misoprostol, and changed the route of

administration of the misoprostol from oral to buccal (dissolved in the

cheek pouch). ROA.2148. Plaintiffs have not challenged those changes

in this litigation, and neither the district court nor this Court during

stay proceedings suggested they were unlawful.

     Third, FDA modified a prior requirement that, in the Prescriber

Agreement Form, prescribers agree to report certain serious adverse

events such as blood transfusions to the drug’s sponsor. ROA.724. FDA

concluded based on over “15 years of reporting” that the requirement

could be narrowed and that, as with other prescription drugs,

information on non-fatal adverse events would continue to be “collected


                                       8
      Case: 23-10362   Document: 222       Page: 24   Date Filed: 04/26/2023




in the periodic safety update reports and annual reports” submitted by

the sponsor to FDA. ROA.724.

     3. In 2019, FDA approved an application of another sponsor,

GenBioPro, Inc., to market a generic version of mifepristone based on

FDA’s determination that it was therapeutically equivalent to Mifeprex.

ROA.768; see 21 U.S.C. § 355(j). The same REMS covers both versions

of mifepristone. ROA.768-69.

     4. In April 2021, FDA announced that it would exercise

enforcement discretion during the COVID-19 public health emergency

with respect to the in-person dispensing requirement. ROA.807. FDA

explained that its decision “was the result of a thorough scientific

review by experts” who evaluated evidence including “clinical outcomes

data and adverse event reports.” ROA.807.

     C.    Plaintiffs’ Citizen Petitions

     Before filing a suit challenging FDA’s decisions, a party generally

must file a citizen petition with FDA. 21 C.F.R. § 10.45(b). Plaintiffs

filed two citizen petitions relevant here.

     In 2002, two plaintiffs filed a petition asking FDA to withdraw its

2000 approval of mifepristone. ROA.635. FDA denied that petition in


                                       9
      Case: 23-10362   Document: 222        Page: 25   Date Filed: 04/26/2023




March 2016, on the same day it approved modifications to

mifepristone’s conditions of use. ROA.635-67. FDA explained that

“adequate and well-controlled clinical trials” had “supported the safety

of Mifeprex” in 2000 and that “over 15 years of postmarketing data and

many comparative clinical trials in the United States and elsewhere

continue to support [its] safety.” ROA.651. FDA also explained that it

had properly approved mifepristone under its Subpart H regulations,

noting that “[p]regnancy can be a serious medical condition in some

women” and 92% of women in the phase 3 clinical trial of Mifeprex

“avoided an invasive surgical procedure and anesthesia.” ROA.637-41.

     In 2019, two plaintiffs filed a petition challenging FDA’s 2016

changes to mifepristone’s conditions of use. ROA.741. That petition did

not ask FDA to revisit the 2000 approval; instead, it asked FDA to

“restore” the 2000 conditions and “retain” the REMS, including the in-

person dispensing requirement. ROA.741. In December 2021, FDA

denied that petition in relevant part. ROA.803-42. FDA explained that

none of plaintiffs’ cited studies undermined FDA’s findings from 2016.

ROA.809-23. FDA also concluded based on its extensive review of the

scientific evidence that “mifepristone may be safely used without in-


                                       10
      Case: 23-10362   Document: 222        Page: 26   Date Filed: 04/26/2023




person dispensing.” ROA.829-38. FDA thus directed mifepristone’s

sponsors to submit a proposed REMS modification with that change,

among others. ROA.808-09; see 21 U.S.C. § 355-1(g)(4)(B). In 2023,

after this suit was filed, FDA approved the removal of the in-person

dispensing requirement from the REMS. FDA, REMS Single Shared

System for Mifepristone 200 mg (Jan. 2023), https://perma.cc/MJT5-

35LF.1

     D.    Prior Proceedings

     1. Plaintiffs are individual physicians and organizations

representing physicians. In November 2022, they filed this suit to

challenge six FDA actions spanning more than 20 years: the 2000

approval of Mifeprex; the 2016 changes to the conditions of use; the

2019 approval of generic mifepristone; the 2021 exercise of enforcement

discretion; and the 2016 and 2021 responses to plaintiffs’ citizen

petitions. ROA.167-83. Plaintiffs sought a preliminary injunction to

suspend all of those actions. ROA.183-84.




     1 Plaintiffs did not challenge FDA’s 2023 action, and the district
court did not discuss it.
                                       11
      Case: 23-10362   Document: 222        Page: 27   Date Filed: 04/26/2023




     The district court directed the parties to submit briefs “on whether

the Court should consolidate the injunction hearing and the trial on the

merits.” ROA.2521. Plaintiffs urged the court to defer ruling on their

preliminary injunction motion until after production of the

administrative record and a trial on the merits, ROA.3246-51, but the

court ultimately declined that request to delay consideration of

preliminary relief, ROA.4192.

     2. On April 7, 2023, the district court granted plaintiffs’ motion

for preliminary relief. The court rejected the government’s arguments

that plaintiffs’ claims are not judicially reviewable. On the merits, the

court held that FDA’s actions were arbitrary and capricious, largely

based on the court’s own interpretation of extra-record publications.

ROA.4355-66. The court also held that FDA’s 2000 approval of

mifepristone improperly relied on Subpart H of FDA’s regulations,

ROA.4345-54, and that statutory provisions derived from the 1873

Comstock Act prohibited FDA from removing the in-person dispensing

requirement, ROA.4338-44; see 18 U.S.C. §§ 1461, 1462. Finally, the

court determined that the equities and public interest favored relief.

ROA.4367-71.


                                       12
      Case: 23-10362   Document: 222        Page: 28   Date Filed: 04/26/2023




     Although plaintiffs’ motion sought a preliminary injunction, the

district court instead invoked 5 U.S.C. § 705 to “stay” the effective date

of “FDA’s September 28, 2000 Approval of mifepristone and all

subsequent challenged actions,” even though the effective date of those

actions had passed years earlier. ROA.4371-73. The court then stayed

its own order for seven days to allow the government to seek emergency

relief from this Court. ROA.4373.2

     3. On April 10, the government and Danco sought stays pending

appeal. On April 12, a divided panel of this Court granted a stay in

part and denied it in part. The panel majority stayed the district

court’s decision with respect to FDA’s approval of mifepristone in 2000,

holding that the challenge was likely time-barred and that the equities

favored defendants on that claim. ROA.4400-07, 4417. The panel

majority denied a stay with respect to FDA’s other challenged actions.

ROA.4419.




     2 Shortly after the district court issued its order, another district
court enjoined FDA from “altering the status quo” with respect to
mifepristone’s availability in certain States. Order, Washington v. FDA,
No. 23-3026 (E.D. Wash. Apr. 7, 2023), ECF No. 80.
                                       13
      Case: 23-10362    Document: 222        Page: 29   Date Filed: 04/26/2023




     On April 21, the Supreme Court stayed the district court’s order in

full pending appeal.

                       SUMMARY OF ARGUMENT

     I. Plaintiffs’ claims are not judicially reviewable. Plaintiffs lack

Article III standing under controlling Supreme Court precedent.

Plaintiffs are doctors and associations of doctors who oppose abortion.

They neither take nor prescribe mifepristone, and FDA’s approval of the

drug does not require them to do or refrain from doing anything. Yet

the district court held that the associations have standing because some

of their members might be asked to treat women who are prescribed

mifepristone by other providers and who then suffer an exceedingly rare

serious adverse event. The Supreme Court has squarely rejected that

statistical approach to associational standing, explaining that it would

“make a mockery” of Article III. Summers v. Earth Island Inst., 555

U.S. 488, 498 (2009). That theory also rests on the false premise that

mifepristone is unsafe under the approved conditions of use; in reality,

serious adverse events are exceedingly rare. In any event, standing is

not dispensed in gross; plaintiffs utterly fail to demonstrate any injury




                                        14
      Case: 23-10362   Document: 222        Page: 30   Date Filed: 04/26/2023




to support their claims challenging FDA’s actions in 2016 and

thereafter.

     Plaintiffs also lack organizational standing and third-party

standing. The plaintiff organizations have not suffered any Article III

injury from FDA’s changes to the reporting requirements applicable

only to third parties. Nor can plaintiffs assert third-party standing on

behalf of hypothetical future patients who might someday use

mifepristone. Plaintiffs’ interests are diametrically opposed to those

patients who, by definition, want to use mifepristone. In any event,

plaintiffs are outside the zone of interests of any relevant statute.

     Finally, plaintiffs’ challenge to the 2000 approval of mifepristone

is time-barred by the six-year statute of limitations. FDA approved

mifepristone in 2000 and denied plaintiffs’ citizen petition challenging

that approval in March 2016. Plaintiffs waited more than six years

after those decisions to file their complaint. None of FDA’s later actions

restarted the statute of limitations by reopening the original approval.

Nor are plaintiffs entitled to equitable tolling, given that nothing

prevented them from filing suit within the limitations period.




                                       15
      Case: 23-10362   Document: 222        Page: 31   Date Filed: 04/26/2023




     II. Plaintiffs’ challenges also fail on the merits. FDA’s actions

were amply supported by a record developed over decades of safe and

effective use of mifepristone in the United States and around the world.

While FDA justified its scientific conclusions in multiple detailed

reviews, including a medical review spanning more than 100 pages and

assessing dozens of studies and other scientific information, the district

court swept the agency’s judgments aside by substituting its own lay

understanding of purportedly contrary studies, offering demonstrably

erroneous characterizations of the record.

     FDA’s 2000 approval of mifepristone was lawful. FDA reasonably

explained its decision, relying on multiple clinical trials that

demonstrated the drug’s safety and efficacy. The district court

overturned FDA’s decision because the agency relied on studies with

somewhat different protocols than the approved conditions of use. But

the court’s apparent “study match” requirement has no basis in the

FDCA or administrative law. The court also concluded that FDA’s

original approval was invalid under the agency’s Subpart H regulations,

but FDA’s decision complied with those regulations, and, in any event,

mifepristone is now regulated under the statutory REMS framework.


                                       16
      Case: 23-10362   Document: 222        Page: 32   Date Filed: 04/26/2023




     FDA’s remaining actions were likewise lawful. In 2016, FDA

reasonably approved changes to mifepristone’s conditions of use

(including the REMS), relying on an exhaustive review of decades of

data, published literature, and other evidence. FDA also reasonably

changed (but did not eliminate) the adverse event reporting

requirements for prescribers under the REMS, determining that over 15

years of reporting data had firmly established mifepristone’s “well-

characterized safety profile.” ROA.822. Additionally, FDA properly

approved generic mifepristone in 2019 as therapeutically equivalent to

the branded version. Finally, relying on a thorough scientific review,

FDA reasonably decided to remove the in-person dispensing

requirement. Contrary to the district court’s conclusion, the Comstock

Act did not prevent FDA from removing that requirement. The FDCA

does not require the agency to address separate criminal statutes when

it approves a drug or imposes a REMS. Regardless, the Comstock Act

does not prohibit the mailing of abortion drugs intended for lawful use.

     III. The district court also contravened established equitable

principles in granting preliminary relief. The court’s reliance on 5

U.S.C. § 705 was misplaced for multiple reasons. The equities also


                                       17
      Case: 23-10362   Document: 222        Page: 33   Date Filed: 04/26/2023




independently foreclose preliminary relief. The purpose of preliminary

relief is to preserve the status quo, yet the district court’s order upends

the status quo that has been in effect for over two decades. That

decision severely harms women, the Nation’s healthcare system, FDA,

and the public interest generally. In contrast, plaintiffs would not be

harmed without preliminary relief. Their harms are attenuated,

speculative, and do not remotely justify upending the status quo.

Plaintiffs’ own delay in bringing suit underscores their lack of urgency.

                       STANDARD OF REVIEW

     This Court reviews a stay decision under 5 U.S.C. § 705 for abuse

of discretion. See Cronin v. USDA, 919 F.2d 439, 446 (7th Cir. 1990)

(the standard to grant a preliminary injunction or a stay under § 705 is

“the same”); Planned Parenthood of Greater Tex. Family Planning &

Preventative Health Servs., Inc. v. Kauffman, 981 F.3d 347, 354 (5th

Cir. 2020) (en banc) (preliminary injunction reviewed for abuse of

discretion). “When a district court applies incorrect legal principles, it

abuses its discretion.” Kauffman, 981 F.3d at 354.




                                       18
      Case: 23-10362    Document: 222        Page: 34   Date Filed: 04/26/2023




                              ARGUMENT

I.   Plaintiffs’ Claims Are Not Judicially Reviewable

     A.       Plaintiffs Lack Article III Standing

     Under Article III, a plaintiff must show injury in fact, causation,

and redressability. TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203

(2021). To establish injury in fact, plaintiffs must show “an invasion of

a legally protected interest” that is both “concrete and particularized”

and “actual or imminent, not conjectural or hypothetical.” Spokeo, Inc.

v. Robins, 578 U.S 330, 339 (2016). Thus, “‘allegations of possible future

injury’ are not sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398,

409 (2013).

              1.   Plaintiffs Lack Associational Standing

     a. The district court erred in holding that plaintiff-associations

have standing to assert the interests of their physician-members.

ROA.4313-15. Plaintiffs and their members oppose abortion and

therefore oppose the use of mifepristone. But plaintiffs and their

members (hereafter plaintiffs or plaintiff doctors) “are not required to

receive” or prescribe mifepristone, and “[t]hey do not have standing to

challenge FDA’s decision to allow other people to receive” or prescribe

the drug because that decision does not impose any concrete,
                                        19
      Case: 23-10362   Document: 222        Page: 35   Date Filed: 04/26/2023




particularized, or imminent harm on plaintiffs. Coalition for Mercury-

Free Drugs v. Sebelius, 671 F.3d 1275, 1277 (D.C. Cir. 2012)

(Kavanaugh, J.). “The Constitution therefore requires that [plaintiffs]

direct their objections to the Executive and Legislative Branches, not to

the Judiciary.” Id. at 1283.

     The district court nevertheless held that plaintiffs have standing

on the theory that other providers will prescribe mifepristone to

patients after informing them of its risks and benefits; that some small

fraction of those patients will experience exceedingly rare serious

adverse events; that some subset of that small fraction of women (who

by definition chose to terminate their pregnancies) will then seek care

from the plaintiff doctors who are opposed to abortion and with whom

they lack any prior relationship; and that those women will do so in

sufficient numbers to burden those doctors’ medical practices or will

require treatment by a plaintiff doctor who morally objects to providing

treatment. ROA.4313-14.

     To describe that theory is to refute it. The Supreme Court has

repeatedly rejected theories of standing that rest on a “speculative

chain of possibilities,” Clapper, 568 U.S. at 414, especially where, as


                                       20
      Case: 23-10362   Document: 222        Page: 36   Date Filed: 04/26/2023




here, those possibilities depend on “unfettered choices made by

independent actors,” Lujan v. Defenders of Wildlife, 504 U.S. 555, 562

(1992). In Clapper, for example, the Court reversed a decision finding

standing based on “an objectively reasonable likelihood” that the named

plaintiffs would suffer injury from the challenged policy. 568 U.S. at

410. The Court emphatically rejected that probabilistic approach as

“inconsistent with [the] requirement that ‘threatened injury must be

certainly impending.’” Id.; see E.T. v. Paxton, 41 F.4th 709, 714-16 (5th

Cir. 2022). So too here.

     The court relied heavily on plaintiffs’ allegation that some of the

plaintiff doctors have treated patients for complications from

mifepristone in the past. ROA.4320. But even though mifepristone has

been taken by more than five million women in America and the

plaintiff organizations claim to have thousands of members practicing

around the country, ROA.81-83, they allege only sporadic incidents,

none of which meaningfully interfered with a member’s medical

practice. See ROA.269-70; ROA.278-83; ROA.290-91; ROA.296-97;

ROA.959. And—even assuming that treating a patient qualifies as a

legally cognizable Article III injury to a doctor—standing to seek


                                       21
      Case: 23-10362   Document: 222        Page: 37   Date Filed: 04/26/2023




prospective relief cannot be based on such “past injury”; instead,

plaintiffs must show an “imminent future injury” to one or more

identified physicians. Summers v. Earth Island Inst., 555 U.S. 488, 495

(2009).

     Plaintiffs have not done so. Instead, their theory mirrors the

“hitherto unheard-of test” for standing that the Supreme Court flatly

rejected in Summers, 555 U.S. at 497. There, an environmental

association challenged regulations facilitating timber-salvage projects.

At least one member had been harmed by a past project, and the

association claimed its members would be harmed by projects in the

future. Id. at 495. The Court held, however, that such past harm “does

not suffice” to show standing “because it relates to past injury rather

than imminent future injury that is sought to be enjoined.” Id. at 495-

96. It “would make a mockery” of Article III to find associational

standing wherever, based on an “organization’s self-description of the

activities of its members, there is a statistical probability that some of

those members are threatened with concrete injury.” Id. at 497-98. The

Court emphasized that an organization must “make specific allegations

establishing that at least one identified member” will suffer harm, a


                                       22
      Case: 23-10362   Document: 222        Page: 38   Date Filed: 04/26/2023




requirement that “has never been dispensed with in light of statistical

probabilities.” Id. at 498-99 (emphasis added). The district court

engaged in precisely that type of prohibited statistical approach when it

reasoned that plaintiffs have “good reasons to believe” some unknown

members will treat patients for mifepristone complications in the

future. ROA.4321.

     Beyond that flat inconsistency with Summers, plaintiffs offer no

limiting principle for their boundless theory of standing. Under their

approach, associations of doctors could sue to challenge any government

action that might affect a member’s practice. Pulmonologists could sue

the Environmental Protection Agency to challenge regulations that

increased (or reduced) air pollution; pediatricians could sue the

Department of Agriculture to challenge standards that imperiled (or

improved) student nutrition; and emergency room doctors could sue the

government to challenge regulations that loosened (or restricted) access

to firearms. Similarly, were the “stress” that doctors feel when they

treat patients a cognizable Article III injury, ROA.4313, doctors would

have standing to sue a multitude of manufacturers and regulators;

surely some find it stressful to treat gun-shot victims, drunk drivers, or


                                       23
      Case: 23-10362   Document: 222        Page: 39   Date Filed: 04/26/2023




individuals experiencing an opioid overdose. Plaintiffs’ extravagant

concept of injury is not the law.

     b. Moreover, plaintiffs’ theory of standing rests on the false

premise that mifepristone is unsafe under the approved conditions of

use. The stay panel accepted that premise, reasoning that the “record”

demonstrates that “hundreds of thousands of women will … need

emergency care” after using mifepristone, and “plaintiff doctors and

their associations will necessarily be injured by the consequences.”

ROA.4396. Under Summers, those assertions would not establish

Article III injury even if they were correct. But they are incorrect.

     Serious adverse events associated with mifepristone are

“exceedingly rare.” ROA.2189. The mifepristone labeling indicates, for

example, that sepsis and hemorrhage rates are each 0.2% or less and

that rates of transfusion and hospitalization related to medication

abortion are each 0.7% or less. See Mifepristone Labeling 8,

https://perma.cc/PU3Y-7TSK; see also ROA.708-09. The rate of

emergency room presentation is likewise low. See ROA.2189, 2192,

2197-98; ROA.839-40.




                                       24
      Case: 23-10362   Document: 222        Page: 40   Date Filed: 04/26/2023




     The stay panel misread the Patient Agreement Form to indicate a

higher rate of adverse events, relying on paragraph 6 to “prove that

emergency room care is statistically certain in hundreds of thousands of

cases” and that plaintiff doctors are “statistically certain” to provide

emergency care in the future. ROA.4398-99; ROA.4389-90. But

paragraph 6 states that for 2% to 7% of women, “the treatment will not

work,” i.e., that it will not be effective in completely terminating their

pregnancies. ROA.4389. The patient signing the Form agrees in that

event to “talk with [her] provider”—who would not be one of plaintiffs’

members, who do not prescribe mifepristone—“about a surgical

procedure to end [her] pregnancy.” ROA.4389. That paragraph does

not address “emergency care” at all.3

     The subject of “emergency care” is instead addressed in paragraph

4, which identifies symptoms that “could require emergency care,” and

states that the patient agrees to contact her “provider” or another

person her “provider has told [her] … to call” in that instance.




     3 An “unsuccessful” treatment will not always require a surgical
procedure in an operating room. As FDA explained, “options that are
now commonly available include” “expectant management (wait and
see)” and “additional doses of misoprostol,” among others. ROA.715.
                                       25
      Case: 23-10362   Document: 222        Page: 41   Date Filed: 04/26/2023




ROA.4389.4 Similarly, all prescribers of mifepristone must either have

the “[a]bility to provide surgical intervention” where necessary or

“ma[k]e plans to provide such care through others.” Mifepristone

Prescriber Agreement Form 1, https://perma.cc/MJT5-35LF. There is no

reason to assume that women in need of rare emergency care would

ignore the plans put in place by their providers and go to a hospital

where one of plaintiffs’ members happens to be working at the time.

See, e.g., ROA.814 (explanation from FDA about common referral

practice); ROA.2476-77 (describing practice of doctors to provide “after-

hours care” at outpatient abortion clinics). And even if they did, there

is no basis to assume that any particular member would be compelled to

assist in a procedure contrary to his beliefs. See 42 U.S.C. §§ 238n,

300a-7(c), (d) (federal conscience protections); Consolidated

Appropriations Act, 2022, Pub. L. No. 117-103, div. H., tit. V, §§ 506-

507, 136 Stat. 49, 496 (similar).




     4  The stay panel also relied on the “Black Box” warning for
mifepristone, but that warning states that “[s]erious and sometimes
fatal infections and bleeding occur very rarely following” miscarriage,
surgical abortion, and medication abortion—and that “[n]o causal
relationship between the use of [mifepristone] and misoprostol and
these events has been established.” ROA.4398.
                                       26
      Case: 23-10362   Document: 222        Page: 42   Date Filed: 04/26/2023




     c. In any event, “plaintiffs must demonstrate standing for each

claim that they press and for each form of relief that they seek.”

TransUnion, 141 S. Ct. at 2208. The district court (and the stay panel)

found standing on the ground that plaintiffs are injured by the

availability of mifepristone as a general matter. ROA.4313-14;

ROA.4389-90 (counting every adverse event in its statistical analysis).

But even if plaintiffs’ theory of standing were not speculative and

foreclosed by Supreme Court precedent, that asserted injury would at

most support plaintiffs’ standing to challenge mifepristone’s approval in

2000. As discussed below, that challenge is time-barred.

     Plaintiffs’ other challenges concern FDA’s subsequent changes to

the conditions of approval, and plaintiffs have not shown that one of

their members faces imminent and legally cognizable injury from those

particular changes. The district court did not even purport to find that

plaintiffs’ alleged injuries are “fairly traceable” to FDA’s post-approval

actions or that relief targeted to those actions would alleviate those

injuries. See Friends of the Earth Inc. v. Laidlaw Envtl. Servs. (TOC),

Inc., 528 U.S. 167, 180-81 (2000). Allowing plaintiffs to challenge all

actions related to mifepristone based on purported injuries from one


                                       27
      Case: 23-10362   Document: 222        Page: 43   Date Filed: 04/26/2023




action would improperly dispense standing “in gross.” TransUnion, 141

S. Ct. at 2208.

     Nor is that a mere technicality. It is implausible that the

incremental effects of the post-2015 changes create new safety concerns

such that they will cause an identified plaintiff to treat patients for

mifepristone complications. Neither the district court nor the stay

panel pointed to any reliable evidence suggesting that those changes

have substantially increased adverse events. In fact, adverse events

remain extremely infrequent. See, e.g., ROA.829 (discussing FDA’s

“extensive review of the published literature since March 29, 2016 …

through September 30, 2021”); ROA.840 (citing a 2018 study that found

“no statistically significant difference between the overall complication

rates between an ‘at home’ and ‘at the hospital’ abortion”); ROA.2490

(describing “no appreciable difference” in adverse events since FDA’s

actions in 2016 and thereafter); FDA, Mifepristone U.S. Post-Marketing

Adverse Events Summary through 06/30/2022, at 1-2,

https://perma.cc/LAM4-KVDZ (Adverse Events Summary) (reporting

adverse events received by FDA through June 30, 2022).




                                       28
      Case: 23-10362   Document: 222        Page: 44   Date Filed: 04/26/2023




     The stay panel suggested that removing the in-person dispensing

requirement poses a particular risk to women experiencing undiagnosed

ectopic pregnancies. ROA.4392-96 (reasoning that, without a “physical

exam to ensure gestational age and/or an ectopic pregnancy,” women

will be more likely to suffer injury and plaintiffs will be more likely to

treat them); see ROA.4328. To be clear, mifepristone does not

exacerbate ectopic pregnancy; it simply is not effective in treating that

condition. As FDA recognized, there are other ways to diagnose ectopic

pregnancy, not all of which require an in-person physical exam.

ROA.652. The Patient Agreement Form also advises patients to follow

up with their providers within two weeks to ensure their pregnancies

have ended. See Mifepristone Patient Agreement Form,

https://perma.cc/FYA4-BQNN; ROA.815 (recommending follow-up

pregnancy test).

     Plaintiffs’ asserted harms related to ectopic pregnancy, like the

rest of their alleged injuries, thus rest on a series of speculative events:

that a woman with an ectopic pregnancy will be prescribed

mifepristone; that her ectopic pregnancy will rupture before she

confirms with her provider that she is no longer pregnant; that she will


                                       29
      Case: 23-10362   Document: 222        Page: 45   Date Filed: 04/26/2023




mistake the debilitating pain associated with an ectopic rupture for the

normal medication abortion process; that she will thus delay seeking

treatment, contrary to instructions in the Patient Agreement Form,

thereby experiencing greater complications than she would have

without having taken mifepristone; and that (unidentified) plaintiffs

will be forced to treat such complications—despite the fact that ectopic

pregnancy occurs in just 0.005% of women who use mifepristone. See

U.S. Gov’t Accountability Office (GAO), GAO-08-751, FDA: Approval

and Oversight of the Drug Mifeprex 39 (2008), https://perma.cc/JZW3-

3J8N (2008 GAO Report) (Stay.Add.418). That theory of standing is

foreclosed by Supreme Court precedent and belied by the record. See

supra pp. 19-26.

           2.      Plaintiffs Lack Organizational Standing

     The district court also erred in concluding that the plaintiff

associations have standing based on changes to the adverse event

reporting requirements for prescribers under the REMS. ROA.4318-19;

see also ROA.4399 (reasoning that, in light of those changes, plaintiffs

have spent “time, energy, and resources” to “conduct[] their own studies

and analyses of available data.”). The district court failed to cite any


                                       30
      Case: 23-10362   Document: 222        Page: 46   Date Filed: 04/26/2023




precedent suggesting that a plaintiff has an Article III injury merely

because the government changes reporting requirements applicable

only to third parties. More generally, if diversion of resources were

sufficient to confer Article III standing, any organization (including the

environmental association in Summers) would have standing to

challenge any government action that it advocates against. But the

Supreme Court has made clear that parties who do not face some actual

and imminent injury “cannot manufacture standing merely by inflicting

harm on themselves.” Clapper, 568 U.S. at 416.

     In any event, even if the district court were correct to find

standing based on plaintiffs’ alleged informational injury, that would

support, at most, an order requiring greater reporting. It would not

justify staying any other agency action challenged in this case.5




     5 The district court also concluded that lack of information on
adverse events undermined plaintiffs’ ability to obtain informed consent
to prescribe mifepristone. ROA.4314-15. But plaintiffs do not prescribe
mifepristone and thus are not required to obtain informed consent from
their patients regarding use of mifepristone. Plaintiffs’ alleged injury is
thus a far cry from the injury alleged in Havens Realty Corp. v.
Coleman, 455 U.S. 363 (1982), where the plaintiff organization’s
“purpose” and core “activities” concerned the information at issue. Id.
at 368; see id. at 379-80.
                                       31
      Case: 23-10362   Document: 222        Page: 47   Date Filed: 04/26/2023




           3.    Plaintiffs Lack Third-Party Standing

     Finally, the district court erred in holding that plaintiffs may

assert the interests of women who might take mifepristone in the

future, a theory of standing that the stay panel did not adopt.

ROA.4315-17. Third-party standing is not a substitute for the

“irreducible constitutional minimum of standing,” which requires “the

plaintiff”—not a third party—to have “suffered an ‘injury in fact.’”

Lujan, 504 U.S. at 560. Instead, third-party standing is an exception to

the “prudential” rules that even a plaintiff with injury in fact ordinarily

cannot “rest his claim to relief on the legal rights or interests of third

parties.” Kowalski v. Tesmer, 543 U.S. 125, 128-29 (2004).

     The Supreme Court has held, for example, that doctors directly

regulated by restrictions on abortion may challenge those restrictions

by asserting their patients’ rights. See June Med. Servs. L.L.C. v.

Russo, 140 S. Ct. 2103, 2117-20 (2020), overruled on other grounds,

Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228 (2022). The

district court reasoned that if abortion providers have standing to

challenge laws restricting abortion, so too must plaintiffs have standing

here. ROA.4316. But this case is entirely different. In June Medical,


                                       32
      Case: 23-10362   Document: 222        Page: 48   Date Filed: 04/26/2023




the doctors’ conduct was directly regulated by the challenged

restrictions; in contrast, plaintiffs here face no “‘threatened imposition

of governmental sanctions’ for noncompliance” with any agency action

related to mifepristone. 140 S. Ct. at 2118-19. Thus, plaintiffs do not

merely seek to assert the legal rights of their hypothetical future

patients; they seek to use alleged harms to hypothetical third parties to

cure their own lack of injury. Plaintiffs cite no precedent endorsing

such an end-run around Article III’s “irreducible constitutional

minimum.” Lujan, 504 U.S. at 560.

     Plaintiffs also do not satisfy the requirements for third-party

standing. They do not have “a ‘close’ relationship” with the “as yet

unascertained” patients they purport to represent. Kowalski, 543 U.S.

at 130-31. And they cannot plausibly claim to represent those patients

because their interests are diametrically opposed: Plaintiffs seek to

block access to mifepristone, but the hypothetical patients they posit

are, by definition, women who choose to use the drug after being fully

informed about the drug’s potential for rare adverse effects. See

Canfield Aviation, Inc. v. NTSB, 854 F.2d 745, 748 (5th Cir. 1988).




                                       33
      Case: 23-10362   Document: 222        Page: 49   Date Filed: 04/26/2023




     The district court’s reasoning about women’s interests also finds

no support in the record. As discussed, serious adverse events are

exceedingly rare. The court posited that women “suffer distress and

regret” after using mifepristone, relying on anecdotes from plaintiffs’

declarants, its own lay interpretation of two articles, and an amicus

brief. ROA.4315-17. But none of those sources provides any basis to

overturn FDA’s safety judgments. For example, the cited amicus brief

relied on a 2021 article based on fewer than 100 anonymous blog posts

submitted to a website entitled Abortion Changes You. See ROA.1514

(conceding that “the population of women who write an anonymous post

about their abortion experience may be different from those who do

not”). At bottom, the district court’s conclusions about women’s

interests lack merit and ignore the agency of women, who are in the

best position to decide what is in their own interests in consultation

with their medical providers.6



     6 For similar reasons, the district court erred in concluding that
plaintiffs who oppose the prescription and use of a drug that FDA has
found to be safe and effective are within the zone of interests protected
by the FDCA’s new drug approval provisions. ROA.4323-24. Plaintiffs’
asserted interests are “so marginally related to or inconsistent with” the
structure and purposes of the FDCA that they have no basis for suit.

                                       34
      Case: 23-10362   Document: 222        Page: 50   Date Filed: 04/26/2023




     B.    Plaintiffs’ Central Claims Are Time-Barred

     The district court erred by holding that plaintiffs’ central claims

are timely. See ROA.4400-07. Each claim has a six-year statute of

limitations. 28 U.S.C. § 2401(a). FDA approved mifepristone in 2000.

ROA.591. In 2002, plaintiffs filed a petition challenging certain safety

findings and the agency’s use of its Subpart H authority, and FDA

denied that petition in March 2016. ROA.635-67. Those actions

occurred more than six years before plaintiffs filed suit. ROA.185.

Plaintiffs’ claims challenging the 2000 approval and the 2016 petition

denial are thus time-barred.

     The district court erred in concluding that FDA reopened those

decisions and thereby restarted the statute of limitations. ROA.4325-

29. The reopening doctrine does not apply here, where FDA did not

undertake “a serious, substantive reconsideration” of its 2000 approval

of mifepristone. See Texas v. Biden, 20 F.4th 928, 951-52 (5th Cir.

2021), rev’d on other grounds, 142 S. Ct. 2528 (2022); ROA.4402-04.



See Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v.
Patchak, 567 U.S. 209, 225 (2012). Similarly, there is no basis to
conclude that plaintiffs are within the zone of interests of the Comstock
Act, a criminal statute that no private person has a right of action to
enforce.
                                       35
      Case: 23-10362   Document: 222        Page: 51   Date Filed: 04/26/2023




     First, FDA did nothing to reconsider its approval of mifepristone

when, in 2016, it modified the conditions of use, including the REMS.

In 2016, FDA relaxed specific REMS requirements. FDA had already

found in 2000 that mifepristone was safe and effective with those

requirements; the question in 2016 was whether mifepristone would

remain safe and effective without them. FDA thus evaluated new

evidence bearing on whether certain requirements were too restrictive.

FDA did not even mention Subpart H, much less reopen its analysis of

that issue, which had been rendered irrelevant by FDA’s subsequent

invocation of the statutory REMS authority. Nor would FDA have

needed to revisit these issues in this decision, given that, on the same

day, FDA issued a separate decision denying plaintiffs’ petition raising

these arguments. Plaintiffs did not timely seek review of that decision.

They cannot circumvent the statute of limitations by seeking judicial

review of a different agency decision predicated on the understanding

that mifepristone was properly approved.

     Second, FDA did not reopen the approval when it denied plaintiffs’

second petition in 2021. An agency does not “trigger the reopen[ing]

doctrine” when it denies a petition and “respond[s] to assertions in the


                                       36
      Case: 23-10362    Document: 222        Page: 52   Date Filed: 04/26/2023




petition.” National Mining Ass’n v. U.S. Dep’t of Interior, 70 F.3d 1345,

1352 (D.C. Cir. 1995). To the contrary, when an agency refuses to

rescind a prior decision, judicial review is strictly “limited to the

‘narrow issues as defined by the denial of the petition’” and does not

reach “the agency’s original action.” NLRB Union v. FLRA, 834 F.2d

191, 196 (D.C. Cir. 1987). Here, FDA simply responded to plaintiffs’

assertions related to the 2016 changes and in-person dispensing.

Revoking the underlying approval was not at issue. Indeed, plaintiffs

themselves took that approval for granted, affirmatively urging FDA to

“restore” the restrictions “approved in 2000” and “retain” the

mifepristone REMS. ROA.741.

     The district court’s reliance on Sierra Club v. EPA, 551 F.3d 1019

(D.C. Cir. 2008), was misplaced. Sierra Club held that an agency

constructively reopened a rule by “significantly alter[ing] the stakes of

judicial review” when the original rule “may not have been worth

challenging” on its own. Id. at 1025-26. As the stay panel recognized,

“plaintiffs did challenge” mifepristone’s original approval on its own (by

filing a citizen petition in 2002); they simply failed to timely seek review

of FDA’s denial of that challenge. ROA.4407. In any event, FDA did


                                        37
      Case: 23-10362   Document: 222        Page: 53   Date Filed: 04/26/2023




not effect a “sea change” to mifepristone’s “basic regulatory scheme” in

2016 or 2021 and thus did not constructively reopen the approval even

under the Sierra Club framework. See National Biodiesel Bd. v. EPA,

843 F.3d 1010, 1017 (D.C. Cir. 2016).

      The district court likewise erred in holding that plaintiffs were

entitled to equitable tolling, as the stay panel agreed. ROA.4329-31;

ROA.4407. Plaintiffs never even asked for equitable tolling, because

they have no plausible claim to it. Plaintiffs plainly could not establish

“‘(1) that [they have] been pursuing [their] rights diligently, and (2) that

some extraordinary circumstance stood in their way’ and prevented

timely filing.” Menominee Indian Tribe of Wisconsin v. United States

577 U.S. 250, 255 (2016).

II.   FDA’s Challenged Actions With Respect To Mifepristone
      Were Lawful

      Even if plaintiffs’ claims were judicially reviewable, they would be

unlikely to succeed. FDA’s approval of mifepristone and subsequent

actions were neither arbitrary and capricious nor contrary to law.

“[C]ourts owe significant deference to the politically accountable entities

with the ‘background, competence, and expertise to assess public

health.” FDA v. American Coll. of Obstetricians & Gynecologists, 141 S.

                                       38
      Case: 23-10362   Document: 222        Page: 54   Date Filed: 04/26/2023




Ct. 578, 579 (2021) (Roberts, C.J., concurring in the grant of application

for stay); see Sierra Club v. EPA, 939 F.3d 649, 680 (5th Cir. 2019) (“A

reviewing court must be ‘most deferential’ to the agency where, as here,

its decision is based upon its evaluation of complex scientific data

within its technical expertise.”).

     The FDCA requires FDA to determine whether a drug is “safe for

use” and effective under the proposed conditions of use, 21 U.S.C.

§ 355(d), such that the drug’s “expected therapeutic gain justifies the

risk entailed by its use.” United States v. Rutherford, 442 U.S. 544, 555

(1979). That is what FDA did with respect to mifepristone. See, e.g.,

ROA.591-98, 637-66 (evidence supporting 2000 approval); ROA.703-24,

809-23, 2147-2241 (2016 changes); ROA.827-38 (in-person dispensing).

GAO confirmed that FDA’s 2000 and 2016 decisions followed the

agency’s standard processes. See 2008 GAO Report 1 (Stay.Add.377);

GAO, GAO-18-292, FDA: Information on Mifeprex Labeling Changes

and Ongoing Monitoring Efforts 1 (2018), https://perma.cc/Y4WM-8HFZ

(Stay.Add.432). The district court’s contrary conclusions rest on a

series of fundamental errors.




                                       39
      Case: 23-10362   Document: 222        Page: 55   Date Filed: 04/26/2023




     A.    FDA Lawfully Approved Mifepristone In 2000

     Because the stay panel found plaintiffs’ challenge to the 2000

approval likely time-barred, it did not reach the merits of that

challenge. In any event, the district court’s conclusions with respect to

the 2000 approval are incorrect. ROA.4345-64.

           1.    FDA Reasonably Approved Mifepristone As Safe
                 And Effective Under The FDCA

     FDA’s 2000 approval of mifepristone plainly was not arbitrary and

capricious. FDA “reasonably considered the relevant issues” and

“reasonably explained [its] decision.” FCC v. Prometheus Radio Project,

141 S. Ct. 1150, 1158 (2021). The district court went well beyond its

role by concluding otherwise based on its own lay interpretation of the

scientific evidence. For example, FDA relied on three clinical trials

involving more than 2500 patients demonstrating the drug’s safety.

ROA.591. Available evidence over the last two decades confirms FDA’s

determination that mifepristone is safe under the approved conditions

of use. More than five million women have used mifepristone to

terminate their pregnancies in the United States. Adverse Events

Summary 1. Mifepristone is also approved in dozens of other

countries. ROA.2241 (62 countries as of 2015); Gynuity Health

                                       40
      Case: 23-10362   Document: 222        Page: 56   Date Filed: 04/26/2023




Projects, Mifepristone Approved List (Mar. 2023),

https://perma.cc/MHY4-KQNW (94 countries as of 2023). And the

World Health Organization has declared it to be an “Essential

Medicine.” ROA.2154.

     Despite such widespread use, serious adverse events have proven

“exceedingly rare,” as discussed above. ROA.2189; see supra pp. 24-26.

And even when a patient may need a follow-up surgical procedure, it is

often to address incomplete abortions or ongoing pregnancies—not

emergency situations. See supra p. 25 (distinguishing adverse events

from ineffective treatment); ROA.591 (discussing clinical trial in which

surgical intervention was provided for 7.9% of patients who used

mifepristone, 72% of which were for incomplete abortion or ongoing

pregnancies); ROA.642; ROA.839-40. That intervention is better

described as an alternative treatment that the patient likely would

have pursued in the first instance if mifepristone were unavailable, not

as a complication.

     The district court questioned FDA’s assessment of the data before

the agency in 2000, highlighting some subsequent reports of

particularly serious events, including deaths. ROA.4359. But the fact


                                       41
      Case: 23-10362   Document: 222        Page: 57   Date Filed: 04/26/2023




that a drug is associated with an adverse event for reporting purposes

does not mean that it actually caused that event. See supra p. 26 n.4

(noting that “[n]o causal relationship … has been established”). As of

June 2022, only 28 deaths had been reported among the millions of

women who have taken mifepristone, and some had obvious alternative

causes—including homicide, drug overdose, and other factors entirely

unrelated to mifepristone. See Adverse Events Summary 1. In addition,

pregnancy itself entails a significantly higher risk of serious adverse

events, including a death rate 14 times higher than that associated with

legal abortion. ROA.638 & n.6. Regardless, the FDCA does not require

FDA to approve drugs only when they are without risk—no drug is—

but instead to consider whether “the expected therapeutic gain justifies

the risk entailed by its use.” Rutherford, 442 U.S. at 555; see 21 U.S.C.

§ 355(d) (FDA must make a “risk-benefit assessment” that “balance[s]

consideration of benefits and risks”). That is what FDA did here.

     The district court also criticized FDA for relying on studies with

somewhat different protocols than the conditions of use approved by the

agency, e.g., ROA.4355, 4365, but this “study match” requirement finds

no support in the FDCA. Congress directed FDA to evaluate drug


                                       42
      Case: 23-10362   Document: 222        Page: 58   Date Filed: 04/26/2023




safety based on “the information submitted … as part of the

application” and “any other information” before the agency. 21 U.S.C.

§ 355(d). No provision requires FDA to limit approval conditions to the

precise protocols in clinical trials or existing studies. If Congress had

intended such a requirement, it would have imposed one. Instead,

Congress granted FDA broad authority to “exercise [its] discretion or

subjective judgment in determining whether a study is adequate and

well controlled.” Weinberger v. Hynson, Westcott & Dunning, Inc., 412

U.S. 609, 621 n.17 (1973). Agencies often operate without “perfect

empirical or statistical data,” and FDA’s approval of mifepristone

reflected “a reasonable predictive judgment based on the evidence it

had.” Prometheus, 141 S. Ct. at 1160.

     Nor is there any scientific basis for a “study match” requirement.

As FDA explained, “[m]any clinical trial designs are more restrictive …

than will be necessary or recommended in post[-]approval clinical use;

this additional level of caution is exercised until the safety and efficacy

of the product is demonstrated.” ROA.662. FDA thus routinely

approves drugs with conditions of use that differ from clinical trial

protocols. For example, routine biopsies were performed in trials for


                                       43
      Case: 23-10362   Document: 222        Page: 59   Date Filed: 04/26/2023




menopause hormonal therapy drugs to establish their safety, but FDA

did not require biopsies in those drugs’ approved conditions of use.

ROA.662; Stay.Add.470-73, 517-18; see also, e.g., Stay.Add.530, 563 (for

Aveed, liver function tests required in clinical trials but not approved

conditions of use); Stay.Add.599, 632 (for Cialis, same for

electrocardiograms); Stay.Add.634, 654 (for Lipitor, same for routine

measurement of creatine kinase levels).

     Finally, the district court faulted FDA for deferring to medical

providers on the appropriate method for dating pregnancies and

diagnosing ectopic pregnancies. ROA.4357-65. But FDA merely

recognized that health care providers are usually best positioned to

make clinical decisions for their patients, and there are a variety of

ways to date pregnancies and diagnose ectopic pregnancies. ROA.652;

see supra pp. 29-30. FDA’s reliance on the professional judgment of a

patient’s healthcare provider is hardly arbitrary and capricious.7


     7  The court also mistakenly described FDA as having concluded
that mifepristone was not safe and effective under the approved
conditions. ROA.4356, 4361. That was FDA’s evaluation of
mifepristone in February 2000 without distribution restrictions,
ROA.587, but seven months later FDA concluded that “adequate
information has been presented to approve” mifepristone with those
restrictions, ROA.600.
                                       44
      Case: 23-10362   Document: 222        Page: 60   Date Filed: 04/26/2023




           2.    FDA Properly Approved Mifepristone Under
                 Subpart H

     The district court also erred by holding that FDA’s approval of

mifepristone in 2000 was invalid under Subpart H of its regulations.

ROA.4345-54. The court fundamentally misunderstood FDA’s Subpart

H authority. Those regulations apply to drugs that treat “serious or

life-threatening illnesses” and provide meaningful therapeutic benefits

over existing treatments. 21 C.F.R. § 314.500. FDA may restrict a

drug’s distribution under Subpart H, as it did for mifepristone. See id.

§ 314.520. But the drug approval is based on FDA’s statutory authority

under 21 U.S.C. § 355, not Subpart H. And in 2007, Congress created

the new REMS framework and incorporated mifepristone’s distribution

restrictions into that framework. FDAAA, 121 Stat. 823. FDA has

regulated mifepristone under that framework ever since, including by

approving a REMS for mifepristone in 2011. ROA.804. The FDAAA

and FDA’s actions under it supersede and render irrelevant any issues

concerning FDA’s prior reliance on Subpart H in 2000.

     In any event, FDA properly invoked Subpart H. FDA found that

pregnancy “can be a serious medical condition in some women,” and

mifepristone avoided a surgical procedure for 92% of patients.

                                       45
      Case: 23-10362   Document: 222        Page: 61   Date Filed: 04/26/2023




ROA.598; ROA.637-41; see also infra pp. 47-48, 51 (noting even higher

efficacy rates reported in more recent trials). The district court

reasoned that pregnancy is not an “illness,” but the preamble to FDA’s

final rule explained that Subpart H was available for drugs that treat

serious or life-threatening conditions. ROA.638; 57 Fed. Reg. at 58,946-

48. Congress ratified this understanding by authorizing FDA to impose

similar restrictions under the REMS framework on drugs intended to

treat a “disease or condition.” 21 U.S.C. § 355-1(a)(1). And while the

court disagreed that avoiding a surgical procedure and associated

anesthesia is a “meaningful therapeutic benefit,” FDA reasonably

determined that it is for many patients. ROA.639.

     B.    FDA Lawfully Changed The Conditions Of
           Approval In 2016

     1. In 2016, FDA approved an application to change mifepristone’s

conditions of approval by, as relevant here, (a) increasing the

gestational age limit from seven to 10 weeks; (b) reducing the number of

required clinical visits from three to one; and (c) allowing non-physician

health care providers licensed under state law to prescribe and dispense

mifepristone. ROA.689-94. The district court erred in holding that

these changes were arbitrary and capricious. ROA.4364-66.

                                       46
      Case: 23-10362   Document: 222        Page: 62   Date Filed: 04/26/2023




     FDA based these decisions on an exhaustive review of “data

gained in the last 20 years from millions of women in the US and

abroad,” among other information. ROA.2175; see ROA.2160-61 (listing

14 “major studies and review articles covering over 45,000 women”);

ROA.2233-40 (listing 79 total publications examining safety and

efficacy). And FDA carefully explained how the available scientific

evidence supported each change. ROA.703-15. FDA concluded that the

evidence relating to the proposed changes “d[id] not suggest a safety

profile different from the original approved Mifeprex dosing regimen,”

ROA.709, which had “exceedingly rare” adverse events, ROA.2189.

     To take just a few examples:

      Increase in gestational age. FDA examined safety and efficacy
       data from nearly two dozen studies. ROA.2171-80; ROA.712-
       13. “Four studies” and a “systematic review” including “over
       30,000” women had “evaluated the exact proposed dosing
       regimen through 70 days gestation.” ROA.704. The
       publications that FDA reviewed showed that mifepristone’s
       success rate at later stages of pregnancy was “comparable to
       (and in several studies, greater than) the success rates for
       medical abortion in the initial 2000 decision for Mifeprex up to
       49 days gestation.” ROA.2180.

      Reduction in clinical visits. FDA relied on nearly a dozen
       studies involving “large numbers of women in the U.S.” and
       other countries, all of which showed that permitting women to
       complete the two-drug protocol at home was “associated with
       exceedingly low rates of serious adverse events, and with rates

                                       47
      Case: 23-10362   Document: 222        Page: 63   Date Filed: 04/26/2023




        of common adverse events comparable to those in the studies of
        clinic administration of misoprostol that supported the initial
        approval in 2000.” ROA.713; see also ROA.2182 (citing
        studies); ROA.2190 (discussing “studies including well over
        30,000 patients” that “demonstrat[ed] an acceptable safety
        profile”).

      Prescriptions by licensed non-physicians. FDA relied on “four
       studies with 3,200 women in randomized controlled clinical
       trials and 596 women in prospective cohorts.” ROA.707. Those
       studies found “no differences in efficacy, serious adverse events,
       ongoing pregnancy or incomplete abortion” depending on
       whether a physician provided the drug. ROA.2221. In fact, one
       study found that mifepristone was more effective when
       provided by nurses instead of physicians. ROA.707.

     The district court was wrong to conclude that FDA did not base its

decision on studies that reflected the conditions that FDA ultimately

adopted. ROA.4365-66; ROA.4411-12. As just shown, the challenged

actions were all supported by studies showing that mifepristone is safe

and effective when dispensed and used pursuant to the revised

conditions.

     The stay panel concluded that the 2016 changes were arbitrary

and capricious because it did not believe that FDA had cited a study

evaluating the effects of those changes “as a whole.” ROA.4412. In

other words, the panel appeared to hold that FDA cannot change a




                                       48
      Case: 23-10362   Document: 222        Page: 64   Date Filed: 04/26/2023




drug’s conditions of use unless it can cite a single study that combines

all of the relevant changes.

     As discussed above, however, neither the Administrative

Procedure Act nor the FDCA supports such a “study match”

requirement. See supra pp. 42-44. Here, FDA grounded its judgment in

a voluminous body of scientific evidence. ROA.2142-2241; ROA.698-

724. The agency carefully explained why the available data supported

its conclusion that the 2016 changes would allow the drug to continue to

be used safely and effectively—as it has been. ROA.2202-09; ROA.712-

15. Neither the district court nor the stay panel suggested that FDA

ignored any study in the administrative record. Nor did they identify

any evidence that combining the proposed changes would lead to unsafe

outcomes. Indeed, neither court’s analysis on this point cited the record

at all. Instead, both courts effectively required that studies be

conducted to produce evidence that would meet a legal requirement that

does not exist. But as the Supreme Court explained in rejecting a

similar argument, it was not arbitrary and capricious for FDA to “rel[y]

on the data it had (and the absence of any countervailing evidence) to




                                       49
      Case: 23-10362   Document: 222        Page: 65   Date Filed: 04/26/2023




predict” that changes it had determined were safe individually would

also be safe collectively. Prometheus, 141 S. Ct. at 1159.

     In any event, numerous studies FDA examined combined aspects

of the challenged modifications, such that FDA relied on data from

those studies “to support multiple changes.” ROA.703. And FDA

considered at least two studies that closely mirrored the 2016

conditions. Sanhueza Smith et al. 2015 (cited at ROA.704 n.3)

considered the relevant dosing regimen through 70 days of gestation.

Similarly, Winikoff et al. 2012 (cited at ROA.704 n.1) was also

consistent with the 2016 changes, except the authors required study

participants to have a gestational age of 57 through 70 days confirmed

using ultrasound. The studies FDA reviewed thus strongly supported

the agency’s conclusion that the combined modifications would not

change mifepristone’s well-established safety or effectiveness profile.

     2. FDA also changed other conditions of use that plaintiffs have

not challenged, such as the approved dosing regimen. For example, in

2016, FDA reduced the amount of mifepristone in the dosing regimen

from 600 mg to 200 mg, a threefold reduction. ROA.2148. FDA also

increased the amount of misoprostol, reduced the amount of time


                                       50
      Case: 23-10362   Document: 222        Page: 66   Date Filed: 04/26/2023




between taking mifepristone and misoprostol, and changed the route of

administration of the misoprostol from oral to buccal. ROA.2148. FDA

made these changes based on “evidence from the published medical

literature” demonstrating their safety and effectiveness. ROA.2148;

e.g., ROA.2170-73 (citing “15 studies using the proposed doses (200 mg

[of mifepristone] plus 800 mcg [of misoprostol]) with a 24-48 hour

dosing interval”); ROA.2164 (“Data from the original US trial … showed

lower efficacy rates with the originally approved Mifeprex dosing than

is reported in a large number of subsequent trials using different

mifepristone-misoprostol dosing regimens,” without “any change in the

safety profile.”).

      Plaintiffs have not specifically challenged those changes in this

litigation, and neither the district court nor this Court during stay

proceedings suggested they were unlawful. Consequently, if this Court

determines that any of FDA’s 2016 actions were unlawful, it should

clarify that its decision extends only to the changes specifically

challenged by plaintiffs in their preliminary injunction motion and does

not require FDA to revert to an outdated dosing regimen.




                                       51
      Case: 23-10362   Document: 222        Page: 67   Date Filed: 04/26/2023




     C.       FDA Lawfully Changed The Adverse Event
              Reporting Requirements In 2016

     In 2016, FDA also changed the requirement that prescribers of

mifepristone agree to report certain adverse events, such as

hospitalizations and blood transfusions, to the drug’s sponsor—a

requirement that applied above and beyond FDA’s standard reporting

requirements for all sponsors of approved drugs. ROA.724; ROA.822.

The district court erred in holding that this change was arbitrary and

capricious.

      The district court criticized FDA’s decision on the ground that it

“systematically ensur[ed] that almost all new adverse events would go

unreported or underreported.” ROA.4365. But the court made no effort

to address FDA’s eminently reasonable explanation for this change.

FDA determined that “after 15 years of reporting serious adverse

events, the safety profile for Mifeprex is essentially unchanged.”

ROA.724. By 2016, mifepristone’s “well-characterized safety profile”

was firmly established, and continued reporting of non-fatal adverse

events by prescribers under the REMS was “not warranted” because

mifepristone’s “known risks occur[] rarely.” ROA.822.



                                       52
      Case: 23-10362   Document: 222        Page: 68   Date Filed: 04/26/2023




     Moreover, FDA did not eliminate all adverse event reporting

requirements. FDA still requires certified prescribers to report any

deaths to the sponsors, and prescribers and patients can voluntarily

report other adverse events. And, as with all approved prescription

drugs, FDA requires mifepristone’s sponsors to report all “serious and

unexpected” adverse events to FDA within 15 days and to report all

other adverse events annually. See ROA.822; 21 C.F.R. §§ 314.80,

314.98. Sponsors also are required to develop procedures for the

surveillance, evaluation, and reporting of adverse drug experiences to

FDA. 21 C.F.R. § 314.80(b). Nor are reports to FDA the only way to

know about adverse events associated with a drug. FDA’s regulation of

mifepristone has drawn on extensive scientific literature, not just FDA’s

adverse event database. See, e.g., ROA.829-30.

     D.    FDA Lawfully Approved Generic Mifepristone In
           2019

     The district court halted FDA’s approval of generic mifepristone

solely based on its conclusion that the approval of branded mifepristone

was unlawful. ROA.4366; see 21 U.S.C. § 355(j)(2). Consequently, if

FDA’s approval of Mifeprex stands as it should (whether because



                                       53
      Case: 23-10362   Document: 222        Page: 69   Date Filed: 04/26/2023




plaintiffs’ challenge to that approval is time-barred or otherwise fails),

FDA’s approval of generic mifepristone must stand as well.

     E.    FDA Lawfully Determined That The In-Person
           Dispensing Requirement Should Be Removed

     The district court likewise erred in concluding that FDA

unlawfully removed the in-person dispensing requirement for

mifepristone. ROA.4338-45.

     1. FDA’s decision to remove the in-person dispensing requirement

was not arbitrary and capricious. The agency decided in 2021 to lift the

in-person dispensing requirement because the evidence showed that

such a requirement was no longer needed to assure mifepristone’s safe

use. ROA.829-38. FDA’s decision “was the result of a thorough

scientific review by experts within FDA’s Center for Drug Evaluation

and Research (CDER), who evaluated relevant information, including

available clinical outcomes data and adverse event reports.” ROA.807.

     The district court, like the stay panel, concluded that FDA

unreasonably removed the in-person dispensing requirement,

suggesting that the agency’s decision was based on an artificial lack of

data caused by FDA’s decision “to practically eliminate an ‘adverse

event’ reporting requirement.” ROA.4344-45; ROA.4412. This

                                       54
      Case: 23-10362   Document: 222        Page: 70   Date Filed: 04/26/2023




assertion misunderstands the record. As explained above, when FDA

changed the reporting requirements under the REMS for certified

prescribers to report certain adverse events to the sponsor, it left

undisturbed the detailed reporting requirements governing

mifepristone’s sponsors. See supra pp. 52-53. And, as FDA explained,

adverse event reports are contained in the FDA Adverse Event

Reporting System database, which FDA “routinely monitors.” ROA.828.

FDA’s decision to remove the in-person dispensing requirement fully

considered information about all adverse event reports it had received.

ROA.828-29.

     Moreover, adverse event reports were not the only evidence FDA

considered in 2021. FDA also specifically reviewed data from the drug’s

sponsors and other sources and concluded that nonenforcement of the

in-person dispensing requirement during periods in 2020 and 2021 did

not appear to affect adverse events. ROA.827-29. FDA further relied

on “an extensive review of the published literature,” including studies

that “examined replacing in-person dispensing in certain healthcare

settings with dispensing at retail pharmacies” and “dispensing

mifepristone from pharmacies by mail.” ROA.829-30. FDA’s analysis of


                                       55
      Case: 23-10362   Document: 222        Page: 71   Date Filed: 04/26/2023




those studies spans nearly 10 full pages in the 2021 petition response.

ROA.829-38; see also FDA, REMS Modification Rationale Review 19-42

(2021), https://perma.cc/W4U3-L38P (analyzing REMS assessment

reports, numerous published studies involving thousands of patients,

and other data to conclude that “mifepristone will remain safe and

effective for medical abortion if the in-person dispensing requirement is

removed”). But neither the district court nor the stay panel

acknowledged FDA’s analysis or explained why it was insufficient.

     2. The district court also concluded that removing the in-person

dispensing requirement was contrary to law based on statutory

provisions derived from the 1873 Comstock Act. ROA.4338-44. In their

current form, those provisions restrict the importation, mailing, or

interstate distribution by common carrier of (among other items) drugs

“intended for producing abortion.” 18 U.S.C. §§ 1461, 1462. The court’s

reliance on the Comstock Act was doubly flawed: The Comstock Act is

not relevant to FDA’s exercise of its authority under the FDCA, and the

court misinterpreted the Comstock Act.

     a. The FDCA requires FDA to assess safety and effectiveness

when it approves a drug and sets the conditions for its use. See 21


                                       56
      Case: 23-10362   Document: 222        Page: 72   Date Filed: 04/26/2023




U.S.C. §§ 355(d), 355-1. Nothing in the statute requires FDA to address

in those decisions other laws that may restrict the drug’s distribution or

use. Instead, the FDCA properly leaves enforcement of those laws to

the agencies charged with their administration. For example, the

Controlled Substances Act restricts distribution of fentanyl, but FDA

has not incorporated those restrictions into its approval or REMS for

certain fentanyl products. Transmucosal Immediate Release Fentanyl

Shared System REMS Program (Dec. 2022), https://perma.cc/JK6T-

S99C; 21 U.S.C. §§ 841-843.

     b. Regardless, the district court misinterpreted the Comstock Act.

As originally enacted, the Comstock Act prohibited selling drugs for

“causing unlawful abortion” (among other items) in federal territories,

Act of Mar. 3, 1873, ch. 258, § 1, 17 Stat. 598, 598-99; mailing drugs for

“procuring of abortion,” id. § 2, 17 Stat. at 599; and importing the

“hereinbefore-mentioned articles,” id. § 3, 17 Stat. at 599. The next

year, Congress clarified that the importation restriction, like the federal

territory restriction, was limited to drugs for “causing unlawful

abortion.” Rev. Stat. § 2491 (1st ed. 1875), 18 Stat. pt. 1, at 460

(emphasis added). Despite “slight distinctions in expression,” the Act’s


                                       57
      Case: 23-10362   Document: 222        Page: 73   Date Filed: 04/26/2023




restrictions were part of a unified scheme, and courts and the Postal

Service interpreted all of the restrictions as limited to articles to be

used unlawfully. See, e.g., United States v. One Package, 86 F.2d 737,

739 (2d Cir. 1936); id. at 740 (Learned Hand, J., concurring);

Application of the Comstock Act to the Mailing of Prescription Drugs

That Can Be Used for Abortions, 46 Op. O.L.C. __, at 5-11 (Dec. 23,

2022) (OLC Op.) (Stay.Add.262-68). Congress ratified that established

construction by repeatedly amending the Comstock Act without

material change after that construction had been called to the

“attention of Congress” in a Historical and Revision Note set out in the

United States Code itself since 1948. See OLC Op. 12-15 (Stay.Add.269-

72); 18 U.S.C. § 1461 note.

     Moreover, by 1965, FDA had approved at least seven oral

contraceptives, even though contraceptives were still among the Act’s

enumerated items. See Lara Marks, Sexual Chemistry: A History of the

Contraceptive Pill 77-78 (2001). Congress repeatedly amended the

FDCA without limiting FDA’s authority to approve types of drugs

enumerated in the Comstock Act. See, e.g., Drug Amendments of 1962,

Pub. L. No. 87-781, 76 Stat. 780.


                                       58
      Case: 23-10362   Document: 222        Page: 74   Date Filed: 04/26/2023




     The district court ignored this history, emphasizing what it

regarded as the Act’s “plain text.” ROA.4340-41. But reading the words

in their context and with a view to their place in the overall statutory

scheme, the Act never prohibited the distribution of abortion drugs for

lawful uses. See FDA v. Brown & Williamson Tobacco Corp., 529 U.S.

120, 133 (2000). At most, the texts of the various provisions are

internally inconsistent: The statute does not uniformly specify whether

it applies to drugs for “any” or only “unlawful” abortion. 18 U.S.C.

§§ 1461, 1462. Various versions of the statute used “abortion” and

“unlawful abortion” interchangeably (and one, 19 U.S.C. § 1305(a), still

includes the adjective). Neither the district court nor the stay panel

cited even a single prior decision holding that the Comstock Act

prohibits the mailing of drugs for lawful purposes.

     Thus, at a minimum, the Act does not speak “clearly” enough to

have “significantly changed the federal-state balance” by applying to

drugs used lawfully. See United States v. Bass, 404 U.S. 336, 349

(1971). Making it a federal crime to mail drugs for lawful medical

purposes would significantly upset the federal-state balance by

interfering with state “health and welfare laws.” See Dobbs, 142 S. Ct.


                                       59
      Case: 23-10362   Document: 222        Page: 75   Date Filed: 04/26/2023




at 2284; 18 U.S.C. § 1461 note (“The intention to prevent a proper

medical use of drugs or other articles merely because they are capable

of illegal uses is not lightly to be ascribed to Congress.” (quoting Youngs

Rubber Corp. v. C.I. Lee & Co., 45 F.2d 103, 108 (2d Cir. 1930))).

     In any event, when Congress enacted the FDAAA in 2007,

Congress “deemed” drugs like mifepristone to have an enforceable

REMS containing “any” existing conditions. FDAAA § 909(b), 121 Stat.

at 950-51; ROA.641. And Congress was well aware that it was

authorizing mifepristone’s distribution system to continue. See

ROA.315 (staff report prepared for Congressman Souder following 2006

subcommittee hearing on mifepristone); 153 Cong. Rec. S5765 (daily ed.

May 9, 2007) (statement of Sen. Coburn recognizing that mifepristone

“is deemed to have a REMS and is subject to periodic review”); 153

Cong. Rec. S5469 (daily ed. May 2, 2007) (similar statement of Sen.

DeMint). One failed Senate proposal would have treated mifepristone

differently from other Subpart H drugs. See S. 1082, 110th Cong.

§ 214(b)(3)(B) (2007). Another would have suspended mifepristone’s

approval entirely. Inside Washington’s FDA Week, GOP Fails to

Narrow Scope of FDA Reform Bill During Senate Mark-Up, vol. 13,


                                       60
      Case: 23-10362   Document: 222        Page: 76   Date Filed: 04/26/2023




no. 16, at 1, 13-14 (Apr. 20, 2007). Congress chose, however, to treat

mifepristone the same as other Subpart H drugs.

     The FDAAA thereby superseded any application of the Comstock

Act to mifepristone. Since mifepristone’s approval in 2000, the drug has

been imported and distributed interstate, as FDA’s approval allowed

(and as Congress knew). See ROA.315; e.g., ROA.596 (requiring

“[s]ecure shipping procedures”). The “plain import” of Congress’s

decision to provide for mifepristone’s existing distribution system to

continue is that the Comstock Act does not bar those same activities.

See Dorsey v. United States, 567 U.S. 260, 274-75 (2012).

     3. Relatedly, the district court erroneously held that FDA’s

exercise of enforcement discretion with respect to in-person dispensing

during the COVID-19 public health emergency was judicially

reviewable, ROA.4331-33, and unlawful, ROA.4338-45. That claim

became moot when FDA revised the REMS in January 2023 to remove

the in-person dispensing requirement. See supra p. 11. In any event,

vacatur of the district court’s order would be warranted because the

COVID-19 public health emergency ends on May 11, 2023, at which

point FDA’s enforcement discretion policy would expire regardless.


                                       61
      Case: 23-10362    Document: 222        Page: 77   Date Filed: 04/26/2023




See DeOtte v. State, 20 F.4th 1055, 1064 (5th Cir. 2021) (citing United

States v. Munsingwear, Inc., 340 U.S. 36, 39 (1950)).

III. The District Court Abused Its Discretion In Awarding
     Preliminary Relief

     The district court’s abrupt and sweeping “stay” of multiple agency

actions, some more than 20 years old, is contrary to established

equitable principles.

     1. As an initial matter, the district court erred in the form of

relief it ordered. Although the plaintiffs sought a preliminary

injunction requiring FDA to withdraw or suspend the approval of

mifepristone, the district court sua sponte invoked 5 U.S.C. § 705—

which authorizes a court in an APA action “to postpone the effective

date of an agency action or to preserve status or rights pending

conclusion of review proceedings”—to “stay” the effective date of FDA’s

2000 approval of mifepristone and all subsequent actions.

     That was error. Plaintiffs failed to seek a stay of the relevant

actions pending judicial review from FDA itself, as required by

regulation. 21 C.F.R. § 10.45(c). Moreover, the relevant statutory

authorization to “postpone” the effective date of a challenged action

indicates that the stay must be contemporaneous with the challenged

                                        62
      Case: 23-10362   Document: 222        Page: 78   Date Filed: 04/26/2023




action, not years or decades later. And, in any event, the statutory text

makes clear that § 705 relief is intended to preserve the status quo

pending judicial review, not, as here, dramatically upend it. See also

H.R. Rep. No. 1950, 79th Cong., 2d Sess. (1946).

     2. The purpose of any preliminary relief, moreover, “is to preserve

the status quo and thus prevent irreparable harm” before the merits are

decided. See City of Dallas v. Delta Air Lines, Inc., 847 F.3d 279, 285

(5th Cir. 2017). The district court upended the status quo with an

abrupt and sweeping nationwide order that will profoundly harm

women, the Nation’s healthcare system, FDA, the sponsors, and the

public interest generally.

     Congress empowered FDA to ensure that drugs are safe and

effective. FDA has done so with respect to mifepristone. The district

court’s order arrogates that authority to the detriment of women across

the country. For many patients, mifepristone is the best method to

lawfully terminate their pregnancies. They may choose mifepristone

over surgical abortion for reasons such as medical necessity or past

trauma. ROA.2468-70; ROA.2478-85; ROA.2510-11. Surgical abortion

is an invasive medical procedure that may have greater health risks for


                                       63
      Case: 23-10362   Document: 222        Page: 79   Date Filed: 04/26/2023




some patients, such as those who are allergic to anesthesia. ROA.596-

98; ROA.639; ROA.2466-67; ROA.2478, 2481; ROA.2501; ROA.2509-10.

Surgical abortion is also often unavailable for practical reasons even

when abortion is lawful, and travel costs could place abortion entirely

out of reach for some patients. ROA.2482-85 (explaining that one of 18

Maine Family Planning clinics offers surgical abortion). Deprivation of

“necessary medical care” imposes irreparable harm. Jones v. Texas

Dep’t of Criminal Justice, 880 F.3d 756, 759-60 (5th Cir. 2018) (per

curiam).

     Those harms would be felt throughout the country. Many States

broadly permit first-trimester abortions. Even in States with more

restrictive laws, abortion is lawful under circumstances where

mifepristone may be the best treatment option. See, e.g., Tex. Health &

Safety Code Ann. § 170A.002(b) (certain health risks); Miss. Code Ann.

§§ 41-41-34.1, 41-41-45(2) (rape); see also OLC Op. 17-20 (Stay.Add.274-

77). The government also understands that mifepristone is used for

non-abortion purposes, including miscarriage management, a reality

that underscores the larger potential effects of the court’s order. For

example, while Wyoming recently passed a law to prohibit


                                       64
      Case: 23-10362   Document: 222        Page: 80   Date Filed: 04/26/2023




mifepristone’s use in many circumstances, it sought to preserve access

to mifepristone for miscarriage management. SF0109, § 1(b)(ii), 67th

Leg., 2023 Gen. Sess. (Wyo. 2023). If given nationwide effect, the order

thus would foreclose or make it more difficult for residents in all States

to access a treatment option that may best serve their needs.

     Limiting access to mifepristone would further harm patients by

unnecessarily burdening the healthcare system. Patients limited to

surgical abortions would face long waits for care from a limited number

of providers capable of providing the procedure, causing harms to them,

their families, and providers. ROA.2440-49. Other patients would

experience related harms, as they too wait for healthcare in a system

with limited providers and resources being unnecessarily diverted to

surgical abortions. ROA.2440-49.

     Furthermore, as more than 400 members of the biopharmaceutical

industry have warned, the court’s order puts “an entire industry focused

on medical innovation at risk.” In Support of FDA’s Authority to

Regulate Medicines, https://perma.cc/FML8-V2QM. By setting “a

precedent for diminishing FDA’s authority over drug approvals,” the

order “creates uncertainty for the entire biopharma industry.” Id. “If


                                       65
      Case: 23-10362    Document: 222        Page: 81   Date Filed: 04/26/2023




courts can overturn drug approvals without regard for science or

evidence, or for the complexity required to fully vet the safety and

efficacy of new drugs, any medicine is at risk for the same outcome as

mifepristone.” Id.

      The stay panel suggested that the district court’s order would not

harm FDA, but the interests of the government and the public “merge”

in this context. Nken v. Holder, 556 U.S. 418, 435 (2009). And “[a]ny

time a State is enjoined by a court from effectuating statutes enacted by

representatives of its people, it suffers a form of irreparable injury.”

Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in

chambers). A fortiori that is true for the federal government, which is

responsible for implementing Acts of Congress that serve and protect

the people of all States. FDA is irreparably harmed when it is blocked

from fulfilling its statutory responsibilities consistent with its scientific

judgment.

      FDA is also irreparably harmed by the disruptive practical effects

of the court’s order, even if upheld only in part. Attempting to adjust

the regulatory scheme during the pendency of further litigation in the

district court would impose substantial costs that would be incurred


                                        66
      Case: 23-10362   Document: 222        Page: 82   Date Filed: 04/26/2023




again if the court’s conclusions are ultimately reversed on the merits.

See Declaration of Janet Woodcock, M.D., Stay Application at 115a-

116a, U.S. FDA v. Alliance for Hippocratic Med., No. 22A902 (U.S. Apr.

14, 2023), https://perma.cc/SKB8-4Q7U.

     3. In contrast, plaintiffs’ alleged harms are attenuated and

speculative. They do not remotely justify upending the status quo.

     The district court concluded that plaintiffs would be irreparably

harmed if called upon to treat patients experiencing serious adverse

events after taking mifepristone. ROA.4367. As discussed above,

however, serious adverse events are “exceedingly rare,” ROA.2189, and

plaintiffs have not shown that any identified member will imminently

be called upon to treat a woman experiencing such an event. Rather,

plaintiffs’ claims of irreparable harm—like their standing allegations—

rely on speculation that hypothetical patients suffering rare adverse

events will seek plaintiffs’ care. Yet plaintiffs’ own experiences confirm

mifepristone’s safety profile: Despite mifepristone’s widespread use for

decades, plaintiffs describe only a handful of times they or their

members ever treated a patient for alleged complications from

mifepristone. See supra p. 21. It is wholly implausible that their


                                       67
      Case: 23-10362   Document: 222        Page: 83   Date Filed: 04/26/2023




practices would be materially affected by such cases during the

pendency of this litigation, particularly for plaintiffs in States where

abortion is largely banned.

     In addition, plaintiffs’ litigation choices demonstrate the lack of

equity in immediately blocking lawful distribution of an FDA-approved

drug that has been used by millions of patients over two decades. In

2016, FDA denied plaintiffs’ petition challenging the drug approval, and

plaintiffs waited more than six years to seek judicial review. After FDA

approved the 2016 changes, plaintiffs waited more than three years

even to file a citizen petition challenging those changes and did not file

this suit until nearly a year after that petition was denied. Their

“unnecessary, years-long delay in asking for preliminary injunctive

relief weigh[s] against their request.” Benisek v. Lamone, 138 S. Ct.

1942, 1944 (2018) (per curiam). Plaintiffs also encouraged the district

court to consolidate their preliminary injunction motion with a bench

trial, demonstrating that their interests would not be prejudiced by

forgoing preliminary relief and waiting months for trial. See ROA.3250.

Plaintiffs’ own conduct thus confirms that there is no basis—in either

irreparable harm or the broader equities—for extraordinary nationwide


                                       68
      Case: 23-10362   Document: 222        Page: 84   Date Filed: 04/26/2023




relief that would inflict grave harm on women, the medical system,

FDA, the sponsors, and the public generally.

                            CONCLUSION

     The district court’s order should be reversed.



                                       Respectfully submitted,

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                                       69
      Case: 23-10362    Document: 222   Page: 85   Date Filed: 04/26/2023




                       CERTIFICATE OF SERVICE

     I hereby certify that, on April 26, 2023, I electronically filed the

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CM/ECF system. I further certify that the participants in the case are

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appellate CM/ECF system.

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      Case: 23-10362   Document: 222   Page: 86   Date Filed: 04/26/2023




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